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                      EXHIBIT H

PLAINTIFF’S SECOND AMENDED COMPLAINT


 RE: CORRUPTION OF STATE PROCEEDINGS

              HEREINAFTER,
            AND TO THE EXTENT
       APPLICABLE IN OTHER EXHIBITS


          “APPLLENAT”=“PLAINTIFF”
        “RESPONDENTS=DEFENDANTS”
FILED: NEW YORK COUNTY CLERK 03/13/2020 05:09 PM                                                                                                                                                       INDEX NO. 101960/2019
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 101081/2019        Case
                     .
           DOC. NO. 71   1:20-cv-04340-RWL
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                                                                                   NYSCEF: 03/13/2020




                                                   SUPREME                             COURT                  OF         THE            STATE                OF        NEW YORK
        O                                                                                         NEW YORK                             COUNTY

              PRESENT:                           HON.          JOHN           J. KELLEY                                                                    PART                            IAS    MOTION               56E FM

                                                                                                                                   Justice
                                                                                                                                        --X                INDEX      NO.                             101081/2019

                   In the Matter            of                                                                                     I      L         EaNo.1E                                           08,0s20,o

                ABRAHAM                  GROSS,
                                                                                                                                                     28TION               SEQ. NO.                           001
                                                                                       Petitioner,                            AUG             2 3

                                                                          - v -
                                                                                                                COUNTY            CLERK S 0Fptc£
                AFFORDABILITY                           OVERSIGHT                      PROGRAM                OF               AIEW YORK
                DEPARTMENT                        OF HOUSING                      PRESERVATION                       AND
                                                                                                                                                           r ;DE                                                  id
                DEVELOPMENT,                            BREAKING              GROUND,  RCB1
                RESiDENTIAL                      FOR   SALE,               LLC, RCB3 RESIDENTIAL                                   FOR
                SALE,         LLC,        and      RCB4 RESIDENTIAL                                FOR      SALE,          LLC,                                                             .


                                                                                       Respondents
                                                                                                                                                                       m. C:..dRK'5GFFICE
              ------                 ----------------------------------------------                                                                           N     SUPEEMECOURT- CIVÌL



            - The       following         papers,          numbered                1                -9              , were         read       on this      app     eét On to/for                  CPLR       ART         78

              Notice       of Motion/         Petition/         OSC - Affidavits                 - Exhibits
                                                                                                                                                                                 No(s)                    1-4

             Answering           Affidavits            - Exhibits                                                                                                                                         5-8
                                                                                                                                                                                 No(s)
                                                                          ..........._..                 -------------------                                          .......

              Replying                                                                                                                                                           No(s)                       9




                             In this        CPLR              article      78      proceeding,                the     petiticñer,              Abraham             Gross,          seeks          judicial        review


             of a July          9, 2019,               New       York        City        Department                 of Housing                Preservaticñ               and       Devel0pment                    (HPD)


             determiñaticñ                  that        his     income            was       insuMcisñt               to qualify              him    for    a subsidized                  apartment               at the


             Waterline           Square                apartment              complex               in Manhattan.                      The     petition       is denied             and         the   prüceeding


             is dismissed.


                             By interim                order       dated          July      18,      2019,         the     court,         pending           hearing             of the     petition,         stayed


             the       respañdeñts                from         leasing          out        any     studio       or one-bedroom                       apartment                  covered          by the          housing


             lottery        in which             the     petiticñer             pârticipated             to anyone                 with       a less       favorable             lottery         number           than


             the       petitioner.           The         court          directed           the     petitioner            to file       and      serve       an amended                   petitica         adding          the


             building's          marketing                 agent          and       owners           as respcñdents.                          It further      directed             him      to articulate


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                                                                                                                                                                                                                                Printed:
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             specific        instances              supporting              his     aliêgaticñs               the        marketing             agent's          rspissêñtative,                 Travis        Fong,


            eñgagsd              in wicñgful             conduct            and         that    the     denial              of the     petitioner's            app!!cation            was       isadered              in


            retaliation           for    his      camplaints              about          Fong.          At oral             argument           on August              6, 2019,         the      court


            extended             the     stay       pending             further         order         of the        court.


                           The         petiticñêr            amsadsd              the     petition           to add           marketing           agent         Breaking            Ground          and       the


            owners           of Waterline               Square            as      respondents.                     The        court      directed           all isspañdents                 to answer              the


            amended              petiticñ         on     or before             August           9, 2019,             and       the      HPD to file the                administrative               record.


            The      court       permitted              the     pstiticñêr              to serve            and      file     reply     papers,          and       he did      so.


                          Where            an     applicaticñ              for     subsidized                affordable               housing          is denied           on the        ground          that        the


            app|icant            does       not       meet        the     required             income             criteria,       a court's           review         is limited        to whether               the


            determiñation                 was         arbitrary          and      capricious,                and      whether            the     criteria        and       msthodology                 empicyed


            by the       decision              maker          were       rational          (see        Matter          of Ozdoba               v Chelsea             Landmark,               LLC,        74 AD3d


            555,     556      [1st       Dept         2010]).


                          Here,          the     approval             of the       petitioner's               application               was     conditioned                upon       his    submission                  of


            proof       satisfactory              to B.reaking              Ground,             and         ult!mete!y           to the        HPD,         that     his    iñcoms           qualified             him


            for    participation               in the        inclusionary                Housing             Program             codified         at section             23-90        of the        New       York


            City     Zoning          Resolution               (ZR).        For      a studio            apartment,                the        program          required         the     petitioner             to


            establish         that       he     had      an       averags           minimum                 income            of $37,578              and     an average              maximum


            incoms         of $44,820                 over      the      two      tax     years        prior        to the        submission                of the       application..             For    a one-


            bedroom           apartment                for     one       person,          the     program                required            an average              minimum             income          of


            $40,252          and        an average                maximum                income             of $44,820                over     that     two-year            period.          The       HPD


            rationally        concluded                that       the    petitioner             did     not       satisfy        the     minimum             two-year            average.


                          The      petitioner             provided             numerous                documents                 to Breaking                Ground,          as it was           the     entity

            tasked        with     the      initial      review          of the         petitioner's               finañcial           qualificaticñs.               In an       applicaticñ             letter


            dated        March          1, 2019,          the      petitioner            reported             to Breaking                Ground          that      his     income         for    the     year


            2016-2017             was          $27,900,           that     his      income            for    2017-2018                 was      $41,300,             and     that     his     income           for

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            2018-2019                   was         projêcted                 to be        $42,300.               On        June        10,      2019,        Breaking                Ground           sent        a rejection


            letter       to the            petitioner,                indicatiñg            that        his      application               was       being          denied            because              he    provided


             nwnmstent                      information                  on    his      application                and         supporting              documsataticn.                         Although              the


            petitioner                characterized                     the     rejection               letter        as praviding                 no basis           for the          conclusion                 that     his


            application                 contained                 inccasistent                   infarmaticñ,                  the     record          reflects           that     the      petitioner             provided

                                                                                                                                                                                                                                   of"
            four      different              figures            for     his    annual            gift     income-$8,000,                             $8,333.33,              $10,000,               and         "upwards


            $12,000,                with       no proof               in admissible                  form         that       he was            recêiving             any       of those             amounts.               Rather,


            the      first     figure          was         set        forth     on     a bank             statement               that       did      not     indicate            from       what          source         the


            amount             originated                  or to whom                 it was         tendered.                  The        second            figure         was       set     forth        in handwriting


            at the           top      of the        bank         statement.                  The         third        figure         was       set    forth         in the        petiticñêr's              letters.         The


            fourth           figure         was       calculated                based            on an           unsigned,               unsworn              email         from       the      petitioner's              father,         in

                                                                                                                                                                                                                    of"
            which            he stated              that        he      had     provided                the      petitioner            with        gifts     in the         sum        of "upwards                         $1,000


            per      month.             The         court         notes         that,        in his           application              for     poor-person                  relief,       the       petitioner            asserted


            that      his gift          income             was          $800         per     month,              or $9,600,              yet       another           figure.


                              After         the     petitioner                submitted              further           documentation                        to Breaking                Ground,              it rejected           the


            patiticñêr's                application                   by letter         dated            June         20,      2019.           In that        letter,        Breaking               Ground           cone!uded


            that     the       pstiticñer's                qualifying                annuàl             income           was         $16,379.58,                   thus     rendering                him        ineligible        for     a


            subsidized                 apartment.                      Specifically,               Breaking               Ground              calculated              his    unemployment                         insurance


            income             as $12,754.62                          and      his    net        income            from        self-employment                        as $2,627.66.                        It further


            detêrmined                  that        any      gift       |ñcome           that      he allegedly                      received          was          not     proven           with      documentary

                                                                                                                                         reach"
            evidêñcs,                 and      that        he     could         only        afford         an      "extreme                                month|y           rent        of $997.63.                The


            petitioner              appsaiêd               that         rejection.               in a dêtarminatica                          dated          July      3, 2019,            Breaking               Ground


            denied            the      pstiticñêr's                  appeal,          again          calculating                his      annual            income           as     $16,379.58.


                              In acccidance                      with         HPD's          piccêdures,                    the       petitioner            filed     a complaint                   with        HPD,       as the


            muñicipal               agency            that        manages                  the     affordab|e                housing             program              to which              he applied.                Based         on


            his    Income              tax        returns,            HPD determined                           that      the      petitioner's              2017          income            was       $9,565.00,                 all of

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            which         was       in the          nature          of wages,             and         that     his 2018              income         was          $30,850.00,                   representing


            $18,685.00                in wage             income,             $2,600.00                in unempicymêñt                         insurance               income,             and       $0      in self-


            employment                  income,              inasmuch                 as he reported                   a business                loss       of $4,506.00                   on his          2018         tax


            return.          Moreaver,                HPD          calcu!ated                the      petitioner's            gift    incoms            for     2018         as $12,000.00,                        based            on

                                                                                                                                                     of"
            his     father's          email         letter       explaining              that       he provided                "upwards                        $1,000.00                 per    month             in gifts      to


            the       petiticñêr;          because                 $12,000.00                exceeded                the     maximum               permissible                  gift      income             of


            $10,000.00,                no gift         income            was          included            in HPD's            calculation.                 Taking            the       petitioner's               average


            annual          income            over        the      2017-2018                 tax      years,         HPD calculated                      his     qualifying               income             as


            $15,425.00,                well      below           the      required             minimum               annual           income            of $37,578.00.


                            The       petitioner,               in effect,        contends                  that     HPD should                  have         included             in its calculations                        the

                                                                                                                                                                                                     income"
            sum        of $10,000.00                   in gift         income          for     2018          and     an additiüñal                 $10,037.00                   in "other                                that


            he    reported            on      his     2018         tax       return      in ccññêction                     with      his    activities            re-selling              artwork.                He thus


            ssssatially             asserts           that       his     income          for       2018        should          have         been         calculated                as $50,887.00.                       The


            court       concludac              that       the       HPD's         calculation                 of the        petitioner's            income              without           these            income


            streams          was        rational             and       not    arbitrary            and        capricious.              The        relevant             Marketing               Handbook                 for


            HPD-subsidized                       apartments                  provides              that      "households                receiving               gift   income             exceeding

                                                                                                                                                                                                              income."
            $10,000/year                are         not      sligible         unless          they        would        be income                 eligible         with       or without               gift


            Inasmuch              as the         HPD          rationally              concluded               that     the        pstiticñar's           gift      income              exceeded               $10,000


            per     year,      that     the         petiticñer           would          not        be income               eligible        with      or without               gift       income,             and     that       he


            would        remain          ineligible             even         if the      HPD accepted                        his     contention               that      he only           received                $10,000


            in gift     income          during            2018,          its rejecticñ                of the       petitioner's             application                was         not     arbitrary              and


            capricious.


                            Even        had         the      HPD         accepted               the       petitioner's             È018        numbers,                the    petitioner's                 average


            annual          income         for       2017-2018                 would          only        have       been          $30,226.00,                  and      thus        below           the     minimum


            annual          income         requirement.                       Marsever,                the     court       notes        that      the       pstiticñêr             reported            two         stisarris


            of self-empicyment                        income             on his         2018          tax     return-one                   in which            he reported                 a $4,506.00                  loss

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                                                                                                                                                                                      income,"
               and     the      other,          totaling              $10,037.00,                that      was      incorrectly               reported           as "other                                 rather        than


              self-empicymsñt                         incoms.                 Hence,           the      petitioner           should           have         reported          $5,531.00                 in self-


              empicyment                      income            for     2018.           Ncñêths:êss,                 even         if the        HPD        should           have         deemed            the


              pstiticñer's               2018         self-emp|cyment                          income            as $5,531.00,                  rather        than         $0,     the      petiticñer's            total


              income          for       that        year      would            have        been         $36,381.00,                making            the     2017-2018                average              $22,973.00,


              a figure          still    insufficisñt                 to qualify           the        petitioner          for    an apartment                    in Waterline                  Square.


                             Contrary                to the           petitioner's             ccñtsatics,             the       respondents                  did     not     first      approve            of his
                                                                                                                                                                                                                                         .

              applic         ticñ       for    an      apartment                 and       then         rescind        the       approval.             There          is nothing               in the


              administrative                   record            establishing                  that     his      application              was     ever        formally           and        fully      sppicved.              In


              any      event,           the     doctrine               of esteppsi               will     not     create        sligibility          for    inclusion            in a program                 where,          by


              statute---here                   the     ZR---a            person          clearly           does       not       qualify         (see       Matter          of Heil        v New           York        State          &


              Local       Retirement                  Sys.,           125       AD3d           1088,        1089       [3d       Dept      2015];           see      also        West          Midtown            Mgt.


              Group,         Inc.        v. State          of N.Y.,              Dept.         of Health,            Off.       of Medicaid                Inspector             Gen.,         31     NY3d        533


              [2018]).           Morscver,                 the        fact      that     the      HPD           calculated          the        petiticñêr's               income          di     erently         from


              Breaking              Ground            does            not      establish           that       its ultimate           rejecticñ             of his         application               was     arbitrary


              and      capricious.                   Rather,            the     complaint               to HPD         was         in the        nature          of an       appeal            from       Breaking


              Ground's              determination,                      and       an administrative                       appellate             tribunal          has       authority           to make           findings


              differêñt         from          the     initial         decision           maker            (see      generally             Matter           of Braband               v Sweeney,                  239      AD2d


              627      [3d    Dept            1997]).


                             A court's               review            of administrative                      determinaticas                    is limited          to the        record            made         before       the


              decision          maker            (see        Matter             of Féâtilerstoi15                   v Franco,             95     NY2d         550         [2000];         Matter          of Levine              v


              New        York       State           Liquor            Auth.,       23    NY2d             863      [1969];        Matter          of Pascazi                v New           York        State      Bd.      of


              Law      Examiners,                    151      AD3d             1324       [3d        Dept       2017]).          The       petiticñer             provided            the       court      with


              recordings                of several              telephone               conversations                  that       he had           with       representatives                       of Breaking


              Ground.            Although               the       court         considered                 them       in camera,                they       are      not     properly            part      of the


              admiñistrative                   record,           as they           were          not      submitted             to the        HPD          before         that      agêñcy             made        its final

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            determinst|cn.                 Hence,        they       may         not     properly            be ccñsidered                  in ccññêcticñ                     with     this    proceeding.

 ..
            Even     if they        could      properly           be considered,                     they       do    not      support          the     petitioner's                 coatsñtion        that


            Breaking         Ground           admitted            or conceded                 that       it had       retaliated           against           him       for     his     complaints


            about        its intake        representative,                   Travis       Fong.           Rather,             they     contain          mostly         the      petiticñêr's


            complaints             about      Fong,        and      sympathetic                 respañses                that        it would         have        been         inappropriatê               had


            Fong     actually          said    what        the     petitioner            contêñded.                  In any          event,       when        requested                 to specify         the


            particulars           of Fong's         allegedly              wicagful           behavior            in his        amended               petiticñ,         the         most     that    the


            petiticñêr           alleged      was       that     Fong         told      him     that      his     epp!icat!Gñ              would         be       rejected            if he did      not fully


            submit        all of the        fiñañcial          documentation                   required              by Breaking              Ground,              misfiled           the


            documêñtaticñ,                 or missed             a filing       deadline,            which           is hardly           a threat        to deny             the      app!!cation          for


            no   reason          at all.


                          Accordingly,            it is,


                          ORDERED                that    the      petition           is denied;           and        it is,


                          ADJUDGED                that     the      pracseding                 is dismissed;                  and      it is further,


                          ORDERED               that     the      stay        set     forth    in the        court's           interim        order       dated          July        18,     2019,     and


            continued            on August          6, 2019,               is dissolved          and        vacated.


                          This     ccñstitutes           the      Decision,             Order,         and      Judgment                 of the       cou

                                                           F           I
                                                                             LE                   D
                          8/16/2019                               Å(
                             DATE                                                                                                                     JOHN        J.     EL             ,    .S.C.
                                                                                                                                                      ON.               OHN                 J.KE           LEY
                                                    OOUN TY                                   OFFICE
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                                                           _       NEW YORK
             CHECK ONE:                                    X       CASE DISPOSED                                                      NON-FINAL DISPOSITION
                                                                   GRANTED                           X       DENIED                   GRANTED IN PART                                           OTHER
             APPLICATION:                                         SETTLE ORDER                                                        SUBMIT ORDER
             CHECK IF APPROPRIATE:                                INCLUDES TRANSFER/REASS!GN                                          FIDUCIARY AFFOiiiTiviENT                                  REFERENCE




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                                  SUPREME COURT OF THE STATE OF NEW YORK
                                  COUNTY OF NEW YORK
                                  ABRAHAM GlÏOSS,

                                                                                      Petitioner,
             .        .
                                                          -against-

                                THE DEPARTMENT OF HOUSING PRESERVATION AND
                                DEVELOPMENT (HPD),

                                 and-

                                BREAKING GROUND,

                 .              .and-

                                RCBI RESIDENTIAL FOR SALE LLC,
                                RCB3 RESIDENTIAL FOR SALE LLC,
                                RCB4 RESIDENTIAL FOR SALE LLC,

                                Respondents.




                                                       JUDGMENT
                                                                                 .             .
                                                  ZACHARY W. CARTER
                                         Corporation Counselof the City of New York
                                               Attorneyfor RespondentHPD
                                               100Church Street, Room5-184
                                                   New Yorig N.Y. 10007

                                                    samantha Schonfeld                              N.Y.,   CO.   CLK's   OFFICF --
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                                                    Fax: (212) 356-2019




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                                                  Justice




            et seq




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                                                             see Matter of Rattley v New York

         City Police Dept                Matter of Lopez v New York City Police Dept. Records

         Access Appeals Officer

                                                                                   Matter of

         Mitchell v Slade                             see Matter of Morgan v Nassau County




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         Police Dept                            Matter of Wood v Ellison




                                see Matter of Taylor v New York City Police Dept. FOIL Unit

                               Matter of Tellier v New York City Police Dept




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                                                    Preliminar Statement

              1. I a e a                c       c       ab e deg ee f c e          , e   ec f     ,     b e e
                                                                                                                1
                  a     he        ffe       g       e    e       b , a d ch    e     d ffe e ce       e c   a   ​
                  a dc                  e       e​2​:
                              .         h        ://         .       be.c     / a ch? = D dh dI 7I
                              .         h        ://         .       be.c     / a ch? = AD S           I7
                              .         h        ://         .       be.c     / a ch? =c_fS2 Bc3f & =39




1

https:   www.nytimes.com 1964 03 27 archives 37 who saw murder didnt call the police apathy at stabbing of.html​
https:   www.psychologytoday.com us basics bystander effec​t.
2
 ​https: journals.sagepub.com doi abs 10.1177 1745691616679465 journalCode ppsa
https: www.psychologytoday.com us basics bystander effec​t.
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                 2. I M . f O                        e 3​​ , he C                    ef    ed        d ffe e ce a a e                   e
                         h         ee           e : Re e                       g he         h         d          ed fac       [ ] h ch ha
                              d         ab           ed           he h          ee         e         f e           e O        e a d he
                         d ab ed ch d e , h c                                   he        dca c            c e ce, a d                 he ef e be
                             aca ed .
                 3. I              a    c            a            he af e a d dec                             he ca               e     ha
                         de g a ed                   b c ff c a c                           e         h             a d A         e a
                         ch            ca       -             he , a d A                  e a , a a -ab d g,                          e ed,
                         agg e ed,                   - c              e,          e        ga , h e fe ha bee de a a ed
                               e            f       he a ha ef                   c          a e e                e, h ha               ffe ed
                         e c ca                 g ha                       c de           -a d- ff h          ee         e    d         g he
                             a de           c, de            e: he e             e ce f ead                -a a ab e                       ;
                         Re             de           ad           c        e     e ea e ab                  he               a ce f he           g he
                         h         ee                    a            d         g he a de                 ca d ea a                   fa        ca
                         g de           e ;a d                e       he             g e de ce f a c                     a e e              e ha
                              a e B                 T eed             ee             e      de ga e - , e                 ec f         , e      g a
                         he h           a c              c e ce.




                 4. I              d            b g, e            ec f          , he            ha        h ch a     a        he h         a
                         c         c e ce fa                              e he           dca c            c e ce.



    ​I   Ma e   fO   e       Ce e , S       .C S         e eC              H   . L g-C ha (2013).
3
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   5. D e             fh       a be g , a              e a e             e e ced ega                         d , ha e
           e c                 e e ed he ec d. The                          a                      e             e
      be      de        e      a dc        f          .F       e a          e: H           c           d he H                ab e
      A      e a eD                   F        De a            e       ( he A            e a eC                  ) be
           d ffe e             he     ffe       g f                    ged h         e         e       d         g he
       a de           c?
   6. H       c        d he A         e a eC                           ab      de e             he fac Re                    de
      ad          ed e ec           g 99.9% f he a                     ca      , h ea a d gc                                 e
      a a         e            eg eg            -          a f ed a                 ca     , fa             a df e d
      (D c e #58, EXHIBIT J2), a d h e- A                                       e a         c                e               ffe ?
   7. Wh          a    he e -e ab               hed a f                     he C                fA          ea           e
      d     ega ded             ea d            e aga          b       he H              ab e T a C                  ?
   8. Wh              he A     e a eCe                Off ce g a ed he gh                                   a c
       ab age he ca e                  f       ga                  b c      dec a e a e a a                          he ec            a d
             h             e    ?
   9. Wh          Re           de                -b                ca               ec ed b            h e
             ec he             b cf             ch ca              ?
   10. H      c        d he A         e a eC               d       ega d he c e                        g ea          -           e b
      ha d e de ce                  ACRIS-             h ch Re                 de                       e    g a              fa
      a df e d ,               ch a Nad Ah ed a d L                             e    Meah (                  C       e             ee
            hac         b ed a a                de $60,000 a d h                            ee              ha e de              ca
      ha d-                 g) h      ee (13) aff dab e a a                          e         ,a A          e a         c              e
              ffe ?
           Case 1:20-cv-04340-RWL Document 65-2 Filed 10/15/20 Page 40 of 80




                11. Wh           he A             e a eC                          g               e a eaba a                    a a                   a            e
                        ga           c                      a        gh ? The                     f            e        g        e               ge             ge
                   e e       da .
                12. If he e                  ch a h g a a                dca c                    c e ce, e             ec f             ,       ha        e e
                   bee               e ab e             ha             he e           ceed g . A                                 d a ef                h
                   g e               e             ce           e d     f     f           h            ab e            e be              f he A            e ae
                   C                 a ea h                 e           a he               a            f he e de ce ead                              a a ab e
                        NYSCEF/ECF. The e de ce                                           ff c e                   e a          e.




                13. P        a               he 14 h A e d e                          f he US C                                      :            ha a
                   S a e de                  ea         e             f fe, be                ,                    e    ,        h           d e           ce          f
                    a ;              de            a            e             h                        dc               he e             a         ec              f
                    he a             .D e              ce            c de 4​​ he gh                        a            a       a            dge h
                   a         he a e                a         a d fa          ,a           dc          d c                g           he a         ea a ce f
                                     e , a d ec                 e he         e e f                          ceed g               he e he
                         a       a           c     d be ea              ab            e               ed.
                14. B            e f CPLR 321 (a) a                           e           ga          ha        he gh                    ef e e e
                    he S a e f Ne Y                             .N      dge, c                a             e ,c                ce ,                       g
                   c         e           a         he               b c ff c a ha                 he a h                         de           ea               e
                        ga           fd e              ce ,            c de he gh                           a               a    a           b        a.



4
    ​The   Ne   York Bar J dicial R les of Professional Cond c
         Case 1:20-cv-04340-RWL Document 65-2 Filed 10/15/20 Page 41 of 80




              15. CPLR 321 (a), he 14 h A e d e , he                                             f A e ca                          de ce,
                 a d           e a h         a dece c - a                     e             ca             ec a                e       ga
                 f       be g be a ed, h                   a ed, c            ed a ,          b ec ed                  a c
                     ab age, ea ed               ed      , de         ed a d chea ed f h c                                 a d
                 c                a        gh .
              16. Ne e he e ,               he ca e a ba , a e e                             ,A       e a              a       b ec ed
                     he a d c     d c a d he                     e. The af e a d                          ec       e                        e e
                 -a d           a e- e de ed                a c e fa a -be                            d- each, a A                 e a
                 c         e      be de            ed- f he                        a fa          e                  ed b a
                 c       ed       e         f a .
              17. Whe A          e a        e     ec f          a d           e          b           ed        ee a            a h           e -
                      c d g       dca a h                 e -       ef ab e e de ce                        b a             a     gh
                 a ega           ,A        e a        a f ced                     a ch        h           a        h e           h he
                      a da e a d e               ce              ec he                 b c, ch e                   ead         eaff
                 Re        de         ab    e- he- a c ed , b ,​ inter alia, ​                                 d g               -fac
                        f ca          f    Re         de        ,     e            g          g he e -e ab                       hed
                      ecede - a d e e g                  g a fa a                            g d ac        a           a c         a da
                 gag     de        A       e a , ba              gh           f         f        he            e         g Re           de
                 baa       be a a           f he         b c              .


                          FIRST ARGUMENT:​ Based on Substantial E idence​5​, the
                 Respondents Corrupted the Judicial Process B Steering The Case at
                 Bar to a Court That Consistentl Set Aside the Well-Established La
                 Without An Justification. Appellant is entitled to the Application of
                 the Well-Established Precedent. It Does not Honor American
                 Jurisprudence to Conjure Unpersuasi e E planations as to Wh
                 Appellant Should be Denied Equal Protection Under the La . The
                 Appellate Court Should Respectfull Vacate-In-Part and
                 Re erse-In-Part the Orders that are Irreconcilable                                                ith the
                 Well-Established Precedent, End the Sickening Torture of an



5
    See: Appellate Division 1st Dep, Case No. 2019 04206, Docket                            9, Exhibits T, pages 370 415.
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               Aggrie ed Pro Se Litigant, A ard Reasonable Costs and Other Relief,
               as the Appellate Court Deems Just and Proper.


                       SECOND ARGUMENT:​ ​B Virtue of ​Respondents Corruption of
               the Random Process b                    hich Cases Are to Be Assigned, the Burden
               of Persuasion Must Shift onto Respondents to Justif Each Instance in
               Which the Court De iated from the Well-Established Precedent and
               E er Instance in Which Due Process                            as Violated.



           POINT ONE: Endorsement of Respondents Contempt for the La

           18. D d he h          ab e      a c             ( he C        )e        ad         g he         a ce ha
               Re       de      The De a           e        fH         gP e e a              a d De e               e
               ( HPD ), Re            de    B ea            gG        d ( BG ), a d Re             de         RCB1,
               RCB3, RCB4 Re de              a F           Sa e LLC ( De e         e     ,a dc        ec       e ,
                 Re      de       ) a e ab       e- he- a , a d,             fac , a    be         e a de he
                  a            b ga                    a         he    ec f c a        cab e a h              e :
                           .     The eg a                  ag ee e     be      ee HPD a d BG
                                 ( Reg a               Ag ee e        1 );
                           .     The eg a                  ag ee e     be      ee De e         e   a d HPD
                                 ( Reg a               Ag ee e        2 );
                           .     The HPD           a e        g ha db          ( he Ha db             )​6​;
                           .     The​ ​HPD         c       e g de: ( he I c            e G de )​7​;
                           .     CPLR 7804 (e) a                 e a          he ge e a a          cab e
                                 a h         e :



 In        HPD bli hed he Ma ke ing Handb k P licie and P ced e f Re iden Selec i n and
Occ anc        hich c n ain he gene al licie    ced e and e i emen f he ma ke ing and elec i n
 f e iden f de el men a i ed b HPD On age                 he Handb k inc     a e all a licable Fede al
and S a e la See S C                    D cke       f ill a i n f he agg e i e manne he
Re nden e a ide he Handb k
 P bli hed b HPD i e and          n he inc me calc la i n me h d ha HPD and BG h ld a l hen
e al a ing an a lican inc me Reg e f ll Re nden di ega ded ke            i i n f he Inc me G ide
See NYSCEF A l Di           De                  E hibi A A
        Case 1:20-cv-04340-RWL Document 65-2 Filed 10/15/20 Page 43 of 80




                              .       The 14 h A e d e                    f he U.S. C                        ( 14 h
                                      A e d e           )​8​;
                              .       A    c e XVII f he Ne Y                         S a eC                     ( A    ce
                                      XVII )​9​;
                              .       The C         R gh        Ac    f 1871, ​42 U.S.C. § 1981​ ( Sec
                                      1981 );
                              .       The F eed            fI f           a           La ( FOIL )​10​;
                 B           e f he C               f      ( O g a O de ), ec                     d ( Re e a O de ),
                  h d ( Sa c               O de ), a d f               h( T a             fe O de )         de
                 (EXHIBITS A1-A4), he C                         a      e ed- ​ N .

                                        POINT TWO: Intrinsic Fraud
            19. D d he C              e , e ec f ,b a e    g​11​ ha : aca                                    fa        dg e
                        a     CPLR 5105 (a) (3)                       a           e       a a     c                     f
                 e          c f a d 12​
                                    ​ ,b           efe e c g              ca e 13​
                                                                               ​   h ch a e             ec       c ab e,
                  e   ec f        ,       h he C            a g        e . The C                a g e       he e ca e
                 h d ha :




                                                5015 (a) (3)                  a       e     a a         c                     f
                                              e            cf a d .

    N hall an S a e de i e an e n f life libe              e      ih    d e     ce f la n den          an e n
   i hin i j i dic i n he e al      ec i n f he la
    The aid ca e and          f he need a e blic c nce n and hall be     ided b he a e and b ch f i
    bdi i i n
10
    ​F he eg egi     ill a i n f he manne he C        e a ide he F eed m f Inf ma i n La        FOIL he clea
    eceden f m he C         f A eal and he C          n a lica i n f hi eceden ee See A l Di Fi
De a men                   D cke       Re ec f ll he C           en agenda in he c n e f Re nden f a d
al e a i n f d c men and he c iminal ac a i e ain            he FOIL m       h ck he j dicial c n cience
   The Sanc i n O de Page
   The Sanc i n O de Page
13
   ​LaSalle Bank N A Obers ein                  AD D                 Wells Fargo V Colle a                   AD D
          Case 1:20-cv-04340-RWL Document 65-2 Filed 10/15/20 Page 44 of 80




                  C        a         he C               a ce, e       ec f              , he f          ca e he d​14​:
                                      I a         e e , he a              e a       fa ed             de               a ea
                                      ea       ab e e c        ef         he defa            , h ch           e           ed he a
                                     CPLR 5015 (a) (3)                          a ege                       c f a d ​ (LaSalle
                                     Bank N.A. v Oberstein, 146 AD3D, 2017).




                                     A d he ec             d ca e he d:
                                         h    , he a      e a             e e e              ed         h      a ea               ab e
                                     e c      ef        he defa             (​Wells Farg​ V. C                    e a, 153 AD3D
                                     (2017).




                                                                                                  15​
                                     F       he         e, he A           e a eD                  ​     efe e ced he a d
                           ca e a f                :
                                         5015 (a) (3) a           e        a a               c                         fb h
                                     e            cf a da d                     c f a d , e ce                ha he a e
                                      e       e        a defe da            de                   a e a ea          ab e e c              ef
                                     he defa            a da          e     a            e                  defe        e​16​ .
                  A dc          ca   , he C              fA     ea          e f he d​17​:
                                     [...]S        e eC           e ed              c     c d g ha                     ac ed he
                                     a h                  aca e             de d ec               ga               e          de CPLR
                                     5015 (a) (3). A            e ha e          e                 ec g        ed, " he f a d

14
     ​ ​LaSalle Bank N A       Obers ein          AD D
15
   Bank of N.Y. Mellon Trust Co., N.A. v Ross, 170 AD3d 931 (2019).
16
   Bank of N.Y. Mellon Trust Co., N.A. v Ross, 170 AD3d 931 (2019)
17
   Wilson Vs. Galicia, 36 AD3D 695, 2008 quoting Oppenheimer v Westcott, 47 NY2d 595, 603 [1979].
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                                     f        g he ba         f      a CPLR 5015                      a be e he
                                     e        c                   c .




                        POINT THREE: Res Judicata and Collateral Estoppel

                20.D d he C           e , e       ec f       ,b                 g​18​ ​ he d c    e    f ​res judaica
                    a d ​collateral estoppel ​       dec de he              e       fa       ceed g, he        he
                       g a        ceed g a               f        a d fa              ga ed, a de a ded b           he
                      e -e ab      hed, f f - ea             ecede      f         he C           fA    ea 19
                                                                                                          ​
                    (​Schwartz Vs. Public Administrator 24 N.Y.2d 65 (N.Y. 1969) a
                                                                                 ​ nd the
                    many cases that reaffirmed​?




18
     ​The Sanc i n O de Page
19
     Schwartz Vs. Public Administrator 24 N.Y.2d 65 N.Y. 1969 .
           Case 1:20-cv-04340-RWL Document 65-2 Filed 10/15/20 Page 46 of 80




               21. F     he , d d he C            e , e       ec f   ,b d        ega d g​20​ he
                       e -e ab       hed a       ha ​res judaica/collateral estoppel do not preclude
                     e     -f       d e de ce e a         g      he hea     f he        e    d       e​21​?




                         POINT FOUR: Agenc In oking Alternate Grounds

               22. D d he C            e , e      ec f     ,b d      ega d g​22​ he c              g a 23
                                                                                                       ​
                     e a        g      he he a a          e a e age c        b     a ha     he a h
                         df     he g     d               h ch he      e      b     a ba ed




20
   ​The Sanctions Order, Pages 1 2.
21
  ​ ​J-Mar Serv. Ctr., Inc. v. Mahoney, Connor   Hussey, 45 A.D.3d 809, 809; Matter of Yeampierre v. Gutman​, 57
A.D.2d 898, 899 2d Dept. 1977 .
22
      Original Order, page 5, paragraph 2.
23
     ​Matter of Scherbyn v. Boces, 77 N.Y.2d 753, Court of Appeals, N.Y. (1991).
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                    de e        a      . The C              c ed​24​, e             ec f               , a a g ab -              ee a ,
                    d       g    hab e a h                  f            a         e c              , h ch e a ed                        a   e ae
                    defe e ce         c ed b               fa                e :

                                        h c           f c           g e de ce c ea                          e e ed a             e             f
                                      c ed b           f            he B a d                   e        e ​(Mtr. of Braband, 239
                                      A.D.2d 627, N.Y. App. Div. 1997)​;
                        h e g         g he c                        g        ecede         f               he h ghe      c           :

                                        he a e         a            eg           df        he          e      a be a ed                  a ed b
                                       he e            de               a d e ed                        b     he c           be              a
                                        e e                 a        he d                  a ​(Matter of Scherbyn v. Boces,
                                      77 N.Y.2d 753, Court of Appeals, N.Y. 1991).



                  POINT FIVE: Remed For Agenc Violation of CPLR 7804 (e)

                23. D d he C           e , e          ec f              ,b     e        g a de​25​ he e -e ab                            hed
                     e ed       e a           g   a age c                          a                   f CPLR 7804 (e), b                          g
                           e          ae a d c                  e        f         he ad                      a     e ec d? I
                    c      a , e       ec f       ,         he e -e ab                     hed e ed                  f   e e a a d
                     e a d​26​ , he C             a e ed ha                        he e             ae a h               d ha e bee
                        c ded         he ad                a        e ec d b                       a         , he            e       e ed          a
                                  S     e eC                        a e d              c           ec he ec d .




  ​Original Order, page 5, paragraph 2: Contrary to petitioner s claim, the complaint to HPD was in the nature of an appeal
24


from Breaking Ground s determination, and an administrative appellate tribunal has the authority to make findings different
than the initial decision maker see generally matter of​ Braband vs Sweeney 239 AD2, 3rd Department (1997) .​
25
     Renewal Order, page 7.
     Mtr. of Petty v. Sullivan    AD d        d De                       Thi c         ha c n i en l held ha i i an e                          a   na
     e i n ba ed        n ch an inc m le e ec d
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  POINT SIX: Material Conclusions Refuted b Written Admissions

   24. D d he C                e , e        ec f           ,b a         ga      a e a , fac a c               c
      ha a e              a e         ef ed b             he ec d? F          e a      e, he ef           g
      ad                      f Re          de       BG (CEO f BG, B e da R e ) a d                               e   f
      he f             de e           a     ,T a           F     g(     a e    ec a            a BG). De          eM .
      F        g ad            g ha he e ec                     ba ed     ​inconsistent information​ had
      ab           e           h g          d         h fa        gf      c     e ( a he , he a eged                  a
      ba ed            hea a              e a        g      b      e      c     e,     e        e         a           f he
              e de e          a                      be         he ec d-            hea a ), age 2 f he
      C            O g a O de Dec                              (da ed A g       16, 2019) a e
       ehab            a eF       g       e ec            b ad a c g a a g             e         ha       ef ed b
      F        g          ad                : he C                gge      ha he           c          e
          f        a          efe ed            fa         gf     c     e. See E h b A2 ( ec                  d age) f
      D c e #9 f he A                      e a eD                 , 04206-2019             NYCSEF, age 20.
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   25. I     he ca e f Re          de     BG CEO, he C                      a         ed a a e            e
      c      c        b      a c                  ga d              a           g he a              d f           M .
      R e          e a : a h                  ea a       he dec                       . Re   ec f        ,
           b a      a e he C              ede e         ed c    c                 ha M . R e                  ad
           ae e      dd           ec de he          b          BG               dc           ea a             g
      A      e a      a      ca     - he C                     ed       -             he e          d         h ch
      c          ad c he C          c    c        . The e a e                   e a      e f         a        g
           f fac a a e                  a e   ef ed b          he ec d. See E h b A10 f
      D c e #9 f he A              e a eD           , 04206-2019                      NYCSEF, age 123:
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              POINT SEVEN: Depri ing Appellant of his Right to Litigate Material
                                   Issues of Fact

                26. D d he C               e , e          ec f           , b de                  gA      e a         fh        gh
                    ad d ca e,             a            ed     a        e a               a ef           a a       c e 78,      ab e         e
                        f fac    e a           g        he hea              f he d               e? A he d           ​Mtr. of Green v.
                    Commissioner of Envtl. Conversation 94 A.D.2d 872 (N.Y. App. Div.
                    1983):​                    e , CPLR 7804​ ​ a                        e ded           c           ea        gh
                         a e f         h           ec        1295 f he C                  P ac ce Ac .

                        POINT EIGHT: Disregarding Procedures Stated on the Court s
                          Website Pertaining to Assignment of Related Cases

                27. D d he C               e , e          ec f           ,b        ef        g       h            he ff c a         e    a ed
                             he ff c a c                 eb      e​27​: he a                 g a                 ceed g (101081/2019)
                         d       ed f, he e                   g e a ed                  ceed g (101960/2019)                    a       g ed
                         a e       dca             a : If he ea e ca e ha bee d                                       ed, he c e
                    a        g   he ca e a a d                     .




                        POINT NINE: Disregarding Procedures Stated on the Court s
                           Website Pertaining to Random Assignment of Cases

                28.F         he , d d he C                e , e             ec f        ,b       g           g he fac Re                de
                    c            ed he             ce    b         h ch ca e a e                  be a d              a       g ed? A
                        a ed       he C                   eb           e?​28​: The a                 g f he C             aC        age c
                             ff c a a a a               a d he ca e-                e de g a                 ,    ge he         h he he
                     he C          a           C          e      Off ce a           ea       f        he C                ,
                    de e          e he a            g     e            fC     ca e , h ch                d        ea a d            b
                    c            e a           gJ         ce a           g ed           he ca eg                 f ca e         ed .



27
     http:    ww2.nycourts.gov courts 1jd supctmanh RJIs Assignments.shtml
28
     http:    ww2.nycourts.gov courts 1jd supctmanh RJIs Assignments.shtml
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   29. N      e he e , he C                 ca e da                   e    ha a a g e                  e gh -              h
          e       d be    ee 2019-2020, he C                              a a       g ed     e     -f e (25)           e
              e ca e                  g         e         ga     (1        . he a e age f 25),             e (9)
              e          e ca e                 gc        age c e (39               . he a e age f 4), a d
      e gh (8)                e      e     ec a            ceed g (35                . he a e age f 4).
   30.E ace ba            g he eg eg                  a        e f h d c e a c                   he fac h
      a           a      cc       ed de     e he C                    e f be g c a          f ed a a T a Pa ,
      a d he e                e ce f C      -        ec f c a      ,            h ch h ca e h           d ha e
      bee a           g ed. F        he           e, he         bea ab e- f             d        ed- fac      ha
                  a           h     a ca        -a         a    be g                e ed b A       e a , ​the
      discrepancy was adjusted.
     POINT TEN: Misrepresenting Appellant s Allegations and his
                   Supporting E idence

   31. D d he C                   e , e    ec f           ,b     b a            a    a d e ea ed
                  e e e           g he a        e, c       e, a d          b a ce f A            e a         ec f c
      a ega              ,a df        he - he ha d e de ce                                  g a d a ega            ?
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                   POINT ELEVEN: Unprecedented Sanctions Order Irreconcilable
                              ith Well-Established Precedent

              32. O Ma ch 09, 2020,                                        a              he A             e a               b                 g e de ce f
                   Re                   de           f a d e           c       d c , d d he C                            e       a d ab             e
                   d c e                     , e         ec f        ,b                  g                                         ,           h             a         g​29​,
                                        e            A     e a        d ac           a        a c                  de             g he A                 e a            f
                               e             c           a dc                        a         gh 30​
                                                                                                  ​ ; e                       g        h                 a         g
                   A           e a                   a                         e             e ef a d a d                              e                e e             h
                   g a              g a cha ce                      be hea d; ba                g,             h             a         g, A          e a           f
                       a            ga           f        he                          e a ed c                 e             de ce              a       c                   he
                   S a e f he Ne Y                                  , a d h ea e                   gA          e a                hf            he           a c            .
              33. The Sa c                               O de                 e       gf               a           ea            .I                  g a c
                    ha de                    ea           ga          fac                          a           gh        f ea                           ba ed
                       e           -f         d e de ce ha                         ef ab                       e       he hea a d                             f he
                       e                ,a df             he           e, e                  ga                e             e e                h            d e
                           ce                a f ag a , h gh -                           ec de a                    ef            dec                   a d
                       e -e ab                   hed a .
              34. F            e a            e, he Sec               dC c               ha       e ea ed                    a ed: he                    e             ca
                           e            h c c                       ha he d                  c c                   a                           eaf            g
                                c                    a         ga         a              e         h                     d g he                     ga             h
                               ce a d a                                            be hea d ​(Moates Vs. Barkley, 147 F.3d 207
                                   ​ ​ ​a
                   (2d Cir. 1998). A                                 he e a               e,       ​Jordan v Bates Advertising
                   Holdings, Inc. Sup. Crt​ 118785/99 (2006), he H                                                               .P e d gA                        e ae
                   J           ce Ac                 a         ed f e a                  g , bef e e c a                                       de       g              ed
                    a c                  .
              35. F            he ,                      e -e ab          hed ha de                        a             fa                e             e e ,              ch
                   a a                       e                  gh         f ea                                              gh ca                  , ece              ae




2
    ​ ee ​Jordan v Bates Advertising Holdings, Inc. Sup. Crt 118785/99.
     S
    Incl ding b n limi ed A ellan c n i i nal igh           fai li iga i n and elf e e en a i n
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                   he gh             be hea d​31​. Wh                   he C           , e aga , de                          ga         e
                    ga            fh c                        a        gh , f h ch he C                                  e -a a e?
            36. O         fa e             a ed 21                      ca e f ed b                       e      ga               Ne Y
               S a e,             ce 1970,              ch            de e            . Wh , e         ec f           , h          dA       e a
               be he f                   ff        ea                 ffe f           ab        e f       dca                e ?

                                POINT TWELVE: The Court Minimi ed the Breach of
                              Impartialit Arising from the Court Attorne s Profanit ,
                              Beratement, Humiliation, Abuse of Proper Decorum, and
                                      Affordable Housing Conflict of Interest

            37. D d he C                  e , e         ec f           ,b        eg               ga de d                        g, a he ha
                   ed e           g, he ac                  edged          c de             he f           da        f           ceed g , J
               18, 2019,                 h ch he C                     c         a          e         ed        fa           ( he F-         d
                    ed            ce), h ea e           gb d            a g age, a d e                     g     be a e a d
               h             a e he A          e a                he        e e ce f he                          gc               e ( h
                    a ed ha             he had e e ,                  he e           e ca ee ,        ee a               h g        e ha ),
                    e e             e          e        A        e a                       g ab        a             b e ched e
               cha ge?
            38.F      he , a                       e f           he C                  g        e ha a c                 a         e      ch ce
                     e ba           a ac            h            fa        a d         b c        ha e a                     e     ga         h
               f      da            c         ,c        ed b h               e         a    fa             a f           -he d aff dab e
                         e           e e       f        h c ed               e         , af e 35 ea ,                        ed a e
                          a             he C                d ac           a Sa c                O de - d e ab                      e   ca
                              e           he        a        a          f he c             a          e          he e              ceed g ?




31
  Mtr. of Sowa v. Looney, 23 N.Y.2d 329, 333 1968 Mtr. of Atkins v. Goord, 16 AD.3d 1011 3d Dep t
     ​
2005 and Mtr. of Fuchino v. Herbert, 255 A.D.2d 914 4th Dep t 1998 .
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            POINT THIRTEEN: Depri ing Appellant of the Right to an
          Impartial Judiciar Whose Impartialit Cannot be Reasonabl
                                 Questioned

   39. Ba ed                 b a        a ed                b c ec d , he C                             ac         ed, e               ec f              ,
                e            e e             f e (5) aff dab e, HPD-aff a ed a a                                                       e        : h ee
      (3) a 33 G d S ee ,                            e (1) a 116 Ma c                             XB d             Ma ha a , a d                              e
      (1)               a 116 Ma c                 XB d                B                      . A he              e he e                    e
            e e             e e ac           ed,             e f he a d a a                             e          e e             ed               he
           a e,                 a a              e a               a e ag ee e                     f ed. I         h fac
           ff c e             ea            ab       ca                      e                he C                         a       a                a
               ceed g e a                    g         HPD a d aff dab e h                                       g? F          he , a
          eae                e g        e            g he a            ea a ce f                                  e , h                d he C
      ha e d c               ed he e                 e e             a           a       e ?
   40.Ba ed                  b a        a ed                b c ec d ,                       c          c                  h he C
                    g he Sa c                    O de , a d                          a            A         e a                b                g
          e a ed- c                a         g da a               he De a                    e         fI     e    ga                  ( DOI ),
      b h he C                      c            a             e (           h a aff dab e                             e        a 248 We
      105 S .), a d h                   e     d              e ghb -                         ed             f aff dab e                         e       e ,
           h ch he                a f             he d f           34 a d 35 ea , e                           ec       e .
   41. A        he c          a             e a dh                 e -d                      e ghb            a        a ed                     a
          e de ce                  he                e       e -           a a b each f he a f                                     he               h d
                    a d aff dab e                       e      e f                   e ha           h         (30) ea .
   42. F        he , he C               A                e         e -d                      e ghb                         he ha                he
      H             ab e A         e a eJ                 ce           h ch he ca e a ba                           a           ee ed, h
      ba ed                 he R e           fJ dca C                    f c             h        d ha e ec            ed h                e f, a d
           h ha a ead , e                        ec f            , a e e                 a d a               -                 e , ha               f
           ea           e aga           A        e a         .
   43. Acc d g , d e                    he fac ha he A                               e a eJ                 ce a d he C                     ' c
      a             e         ed             f aff dab e                             e       e , h ch he                       a f              he d
      f        34 a d 35 ea , e                      ec          e ,                 a             A        e a        f        g
           c            a    g e de ce a d he C                                                  ga               ecede ed Sa c
      O de -                 ea         ab        ca                     e                   he C                      a       a           ?I           fa ,
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                 e       ec f      ,f              he A          e a eC                     c              ed         ega d g he
                d          b g ea e                    h h ch he R e                        fJ dca C                  d c a e ab                  ed?

                     POINT FOURTEEN: Wh Should Respondents Be Entitled to
                              Freel Corrupt the Judicial Process?

             44. P         a      he J d c a                    La        487 a a                     e      h            g              fa        dece
                     c                ,        c        e            a        dece               c               ,         h         e            dece e
                 he c                 a            a                 b ec          c        a dc                 a        ab             .F        he ,
                 e ed ha J d c a                            La           487 f c            e             he a            e              e
                dece e, a he ha                          he dece                   cce 32​
                                                                                       ​ .
             45. R e 3.3 f he ABA R e                                f P fe                     a C        d c ( The ROC R e )
                          de     ha a               e       a e b ged                           ec he c                    f         c             a
                f a d e           c           d c ha                 de            e    he            eg             f he ad d ca                   e
                      ce .
             46.Th          c de              he         hb               aga           de                 g/         df         g e de ce a
                     e a                  gab            de e            ac e               e gage e                           ch c          d c . The
                ROC R e a                                de ha                ce a a            e bec            e a a e f he c e
                c           a      f a d e - he a e b ga ed                                               ha e        ch         f           a              h
                 he c           , a he ha c                               e            ec       g he c                a          f a d e
                c     d c.
             47. The e a                  e    a        e            h ch he Re                      de          a d he c -c                            a
                ha e- a d c                         e       -        cha a              def a d e de he af e a d
                                      f a                   a d           d h          dh             f    he        dca c                   c e ce.
                Ra he ha                           ec he Re                   de        b        ffe        g             -fac                   f ca       ,
                 he A           e a eC                  , e      ec f          , h          d de                  a ea e -                    e a ce
                     a ce        a-           Re            de                  g e              c                   he        dca                ce .

            POINT FIFTEEN: Respondents Egregiousl Corrupted the Judicial
             Process on October 02, 2019, b Colluding ith Ms. Holmes, and
                           Den ing Appellant of Due Process




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     ​Amalfitano v. Rosenberg,​ 12 N.Y.3d 8, 14 (2009).
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   48.O Oc be 02, 2019,                                     d ec           de a                f he                      a e
           b            ed           he A      e a eC               , he H                ab e A           e a eJ             ce Webbe
      ( J              ce Webbe )                   ed a           de ha e e ed he Te                                    a
      Re           a         g O de ( TRO ) f                           ed b          he C                     J        18, 2019. The
      TRO e                      a           ba ed he Re                de           f           ea        g           add       a
      a a               e            Wa e          eS         a e      a         ca              ha                e             ha
      A        e a .




   49.A ha                                    e, Re           de       had ad              ed ha he                     e e      ce     g
      a            ca                h        ch        e              e     ha A            e a                              #103
          f 74,000 (acc                        gf           he c                     b a d7            efe e ce, a              a ed
      a dc              f        ed b Defe da                 Gab e M                 b      -         ec              a age a
      Wa e                  eS       a e).
   50.Th           , e e a               f he TRO                  d effec       e               Re            de        f       ea     g
               a        add              a      e bed               a a          e        . Acc d g ,                          d be
      h gh                   a           bef       Re          de            c             e          de       A        e a      f he
               aff dab e                                     he e e          a f ed f .
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   51. I fac , f he Re                             de                   e e             g           f ee e he e                     e ea e-
               ce            e            de        A            e a ,                ch ac                        d        b a        ae
      A        e a ' a g                   e            ha Re                     de            f e ce,            a        a
      A        e a           ha            h g                  d             h he ff c a e c                      e c               ed.
      F        he                e, Re              de              C             e ad                  ed                      e cca              ha
               e ha a                 h g, he c e                             dd                    a         f ee e he ea e-
               ce , a d f he TRO a                                       e        a ed, he Re                          de               d a         a
                         e e.
   52. A        ch,               c       ca            a           ec a e he e ef,                           ,        d ca           a dg a            de
      A        e a           e     e e ced he J                                   ce Webbe ,                           d ec            de a        ,
          e         a ed he TRO.
   53. A ha                  e, A         e a                   a c               g     h               b c he e             d         g he Je             h
      h        da        f S cc . A                 e a                       e       ha h dec                                   h         che f
          he         c       e ha A                 e a             a g e              a -a d                     - hea              a a ed a a
              a e        f a a de                           .
   54. Had he Re                          de                    eg eg                   c                    ed he          dca             ce ,
      A        e a                    d        e        ha e bee                      a ed f                  he he he e d ed, a                       f
      Oc be 02, 2019.
   55. P                 he A             e a eC                        A             e , M . La e H                            e ( M .H               e )
          a     g he                            a e                     J         ce Webbe , A                    e a            a      b ec ed            a
      f              fd g                  g,               e           ed e a                  f            M .H            e , h ch e e
      hea d b                             e a           e                he       c         .
   56. F       e a           e, M . H                   e               a ed, ​inter alia, ​ ha : (a) Re                              de
               f ab          dd                a                e e beca                eA              e a            a a a                 he ec
      (b) A          e a              a            ca               f         e ef a                    h              e    (c) he H             . J dge
                d        e        ef       e            e e              he TRO. A                      f he e c                e          e e
                    fe            a a d             ca ed f . I                                 ed ha             e e a d             a ag g
          e a                e e          ade b         he A                 e a eD                           aff           he effec         f h
      a                  g            e        ga               a e           dea           h .
   57. F       he                e, he M . H                                 e ca e bac                       h he g ed                 de         ha d,
          he        a ed                   d:                           e,              e, he e ef a g a ed .
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   58. J      ce Webbe             e           a ed he TRO a                       e b          he C            .A        e a           a
      g e a          ece f a e                  h ch           e        ea        he            d be f ee f
      h      ee         e .M .H                  e     he e             a ed he e                     e             b h a           e ,
      a d e e ed Oc be 04, a                              he da e A           e a           h     d e e he TRO, a d
      f      he e e ed a                   e d e da e, a d a e                         da e.
   59. The Re               de       c          e , M . Sch             fe d (HPD), a a                         e f       BG
           a ed Ph               Sh e be ( a               c            e , M .W            a     , a                aca          )a d
      a      he BG a a ega (c                        ec     e       C             e ) e ea                   b      a g . The
      a ed M . H                  e f he e                      f he TRO c                 d be           d f ed.
   60.M . H             e    e           ded          d a d c ea : N . A                        he TRO a a ead
             ed, a           e     e       f          d f ca              eed              be     b         ed
                            a e        .
   61. Re          de        C             e    ef he C e                Off ce.
   62. A     e a                  a dee b ea h. F a                      , ha               J         ce Webbe , a                   a f
             ce, a h          e, a d he ab                         he     M he              e ea                h        each f         he
      f             e. A         e a           a d          a d e e ed he a g age f he TRO. He
      g            a d a ed M . H                     e f he e a a a                              e f ce he TRO f
      Re           de              a ed . He               e            e f gh e ed A                 e a . He a bac
      d          , e ed h                  he a d fa he , ha ed he g                              d e           ,a da        c          e f
          he TRO. A          e a               a ed ga he               gh         e        a be            g g .
   63. D e          ce , f         da e a fa                    e ,e          a            ec              de he a ,
      f a           f       dge e ,               hb                    e - a ec                           ca            a d he
              e ega dec                        - a de a ded ha A                       e a            a e            ed         e
          he fac            ceed g had c                  c ded. Th                e       ec a             ea a                e
            ga .
   64.I a h                 ab e c              f a , he e                             ecede          f               eged a            e
           h d ag ee              ha a d               de                 c e he                a a d de a d,
             -      ceed g , ha he a d                             de        h     d be          b a         a       -     d f ed,
      ae - a e                ceed g, a                            he         ec f ca             . Ra he ,                e ed
          ha a          ch e           e              be                     g,        h         ce, a d e ed                       e       .
      A he e                ea , ba eb            e         eg           c ea          f    A      e a               be hea d f
      a          ch cha ge a e                  ade.
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   65. A          ch, ha f                           ed a , e                 ec f          , a de             cab e ab               e fa h                    ,
              f         d           a                ff        da e a fa                    e ,a d                       e ha a                  h g,
      a e ed                    Re             de             c ed        ha he a e ab                          e- he- a . I                    e      a
       ha ef , e                        ec f          , ha a                  fA        e a               a e                               e    a
      b ad-da - gh , eg eg                                       c        ade aga                              e             ced e.
   66. A                     ae          10-15                      e a e , Re                        de            C            e                  ed bac
                  he C e                 Off ce, a ed                          d ec                   M .H                   e ,a d ad
                  eh g                               ce        M .H                 e       ha A            e a           dd                hea .
      A       e a               a c          f        ed a                ha           a ha           e         g, a d a ed                         e .I        a
       e ea ed ha Re                                  de         C             e ca ed a                        e                he f                      ha e
       he e              . The a                 e             e e        ha            ,a d                       c ed Re                  de
      C            e            g bac                          he C e               Off ce a d a e                                       df           he TRO.
   67. A          e a            a h             ef        ha M . H                     ee                     d e ea he a e a                                 e :
      a            ch            d f ca                   ha         be                         g,         h             e             ce. The a
      had           cha ged. The e                                   bac d                 e c             e        a a ab e                           eged
          a       e ,       ch a                  e f           a         e            a a f               ,         h gh- a                    g a        e
      c             a           c            e.
   68. I          ead, M . H                     e             a g             ac           ,        d ca           g ha          he                d he
       he Defe da                       .A           e a                  e ed, b                M .H                    e g            ed. A          e a
           eaded                hM .H                     e           ec g             e ha he ac                                 e e            age
      a d          c             e                h he               e he had                             a ed. A he e                       ea ,
      A       e a           a ed                 e        a           J         ce Webbe                    h        h                d f ca               a a
      d g ace                   d e              ce . A              e a        f          he a ed: h                        c        dM .H                e
      d       h                          ceed g :                    ha f I had a ead                          ef he                    ? .
   69.M . H                 e       e            ded            h a ad                 c             e,        ca                g:     h
       ea                   h           had ef he                                  b                 dd            ! .
   70. I de            e a              ,A       e a                 eaded              h       he c e                           he     c           , h
           a ed ha               h e he                    e e                ed, a d h e he ha e e e                                            ee
      a           h g           e ha - he                     ac ed a h                              cha e ge M . H                             e .
   71. Ne , A               e a          begged C                     e                ec g           e ha he ac                                    e ea
       e                b each f a a                       e         a h, a d he c                         d face d c                       e. I
       e                e, he            a ghed                        d.
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   72. Te           e a e ,M .H             e    e       ed f            a e - a ec             e a
            hJ      ce Webbe ,         h ch A         e a           a de        ed f a f    da e a
          gh      be hea d. The TRO a                 d f ed               he e ac de a d              f
      Defe da        :      ead f               g he ea         g        ce , Re           de               had
               e a de he a       a a ab e        d             e bed            a a       e . Th
      e           e ed Re        de         e         bac           he        he ,    h     a d        ega d
      f        he fac he had           e e ced A             e a      bac             b c he e .




   73. The c      e ce       h         e ed he e               ee        de     a ed ha he            e e
      had e e        ee a         de cha ged                ch a     a     e . Th c e       e e
           gge ed ha A        e a        gh                                f he b     d g,       ch ha
          he     g a TRO           d     be          effec .

      POINT SIXTEEN: Ms. Holmes Corrupted The Judicial Process a
      Second Time Pursuant to Her Collusion to Modif A Valid Order
                         on October 02, 2019

   74. O N        e be 25, 2019, he H                 ab e A        e a eJ        ce R a         R.
      R ch e ( J         ce R ch e ) he d a c            fe e ce           ha     a   e     ega d g
Case 1:20-cv-04340-RWL Document 65-2 Filed 10/15/20 Page 62 of 80




      A      e a         M                  C          e C            a ce        h he FOIL. I              h
      c     fe e ce, J           ce R ch e a ed he Re                            de            c                h he
           a ed g a a ee              e         ed e a       ged c           e        he had                    ed
      e     ed e         Oc be 16, 2019, b                       h ch a                        de    e ed.
   75. F     he         e,       a        de ed ha he A                   e a eD                         defe
      d c                fA      e a              M                      Dece be 13, 2019,                      de f
      A      e a             be g e a fa cha ce                      acce        a d      b         ,a    a       fh
      Re       ,c       ca FOIL             f      a             hhe d b Defe da                    , a d de e ed f
          he ad              a   e ec d,                     a           f f CPRR 7804 (e). J                   ce R ch e
      f      he              c ed M . H                e         a e        e he                     ee e            d be
       abe ed a ad                   ed a d        aced acc d g .
   76. The 0 de          a ed: Pe RHR, f d c                         e           gh       e FOIL            b a ed b
      12/13/19, A            e a            a      b                 be c        de ed          h               - 7793 .




   77. U          ece        g       h ha d a c                  f he       de , A        e a        had a             f ab e
          e a ce ha h                 de               d be h            ed. S        a    ,        a a              a ef
      A      e a             a        e ha M . H                 e           dc                a d f e he
           ee e a   ad               ed .
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   78. A     e a        e    e     f    Re         de            e     a         h M .H           e , he a e
       e            h h           Re          de       c        ded        Oc be 02, 2019,              cha ge a
       a d     de - g            ed he c ea                 c         g e        he a ec          d a d          de ,
           d c e he                    a ad        ed. O Dece be 05, 2019, he A                             e ae
      D             e       ahead, d        ega ded J            ce R ch e           de , dec d g
      Dece be 05, 2019,                 h      g           gA    e a        he cha ce             e e
      e c      a        e de ce,         b a       a                        gh       e    .




   79. E e         e eg eg               he fac ha he FOIL e                     e       h ch e e           a
      ca e         Dece be 05, 2019 c                   a ed                e                 f         b       g
      d c      e        ha hea                      A       e a         a ega            .F   e a           e:
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           POINT SEVENTEEN: The Clerk s Offices Purposefull
                     Sabotaged Appellant's Case
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   80.O Feb a                    5, 2020, a        a      e             a ed         e a ge he                e        e fec
       he a            ea             Ma 12, 2020.




   81. P          a             c      e      g h ca e                 E-f e F              a ,A     e a               ed a e
      bega c ea                     g a ec d f he                 g a           ceed g f           h a        ea
      NYSCEF. A                     e a     d ge                   aded Re              de         de e           a       ,a
      c                 ca             , a FOIL e             e    ,a c                 b             ,a                       g
      d c          e            ,a c             de , c             a       c        , a d he Re                  de
      ad                    a       e ec d. I add                 ,A        e a              aded c c a ,
          e       -f            d e de ce ha f            he de                   a ed he            bea ab e ea           :
      A Re                  de         fa e            e ha he c                             h eg a                , he
      c                ed        a a daf                f aff dab e h                   ga a          e
      eg eg                     - e g b e,             eged a           e .
   82.The e                 e       da , he A       e a eCe                 Off ce ( he C e               )        a      a d
              h             a        g de e ed he e d c                 e       .A      e a        begged he C e
       ef a ,                       a a .H       d ed         f add             a d c        e        e e de e ed b            he
      C e , de                   eA        e a      ead g.
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   83.Re     ec f        , h ac               e     ha ca             a            a ef       a h        ab e
      c          f a , h ch          ge e a                            a e he          e e a         f ec d ,
          a he ha        he de e             f ec d (e e              h ec         a      g       ced a
      e       ).




   84.The A        e a      a       he       f      ed b      he C e         ha he c          d     c ea e he
          ec d      h           , a he , he a             e       ed        ba         he ff c a ec d
      f       he S        e eC           .
   85. D      g he C            a        ,A       e a         a            c ed b      he S       e eC
            cha e a e f a h d                e a d e e he              b     e a          de f      he
      ce    f ed ec d           be e              he A        e a eC          .
   86. A     e a                    c            ed. O Ma 14, 2020, A                  e a        e ed a
          g ed S b       e ab        he H         . Ad            a       e J dge Ka a ​ ​c           a d g
          ha he ec d be a                fe ed           he A     e a eD                  b Ma 20, 2020.
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   87. The S         e eC             Ce        a          ec f ed ha A               e a           d be g e
      acce               he ff c a ec d f                     he A     e a eD                   -a df        h
       ea           , e he S           e eC               Ce -A             e a         a        g e         he
                                 ba         h       c     e     f he ec d (                 c    d ha e A         e a
      e e           ade c       e a    ha       ec            f he c              a    ea ed ff).
   88.The S          e eC               ec d                  ed a          e         g fac : be        ee Ma 20
       h        gh J        1, 2020, ec d f                        e            he ca e - ha             e e
           b     e aed af e A           e a              b     e a e e e e he e                    de    e ed          a
            e        a      e        he A       e a eD                 .A       e a         ec d         he                e
       ha       a         he S       e eC                      J       1, 2020, he                 a c       f     ed a
      de        e ed.
   89.N e           a a          f    h d               b g fac ha bee g e , de                         eA       e a
      begg g                de       a d h          he S        e eC                     de a ed de          e     g
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      A           e a            ec d. Re                ec f         ,a h                    ab e          dca c            c e ce
      b he ed b                  he                      ha c e                a e f ee                ab e         a        ga         ca e.
   90.Th                        ac                 ac    he          , a he , he                            a      a e        a a            ha
      e            e    c             e                h he ad h                          f he e                 ceed g : A            e a
      f       da e a                 gh            f    fa      e     a de                a            ec               de he a a e
      de               ed he e e a a h                                    f g e-               de          e .
   91. F               Ma 20, 2020-J                         20, 2020, A                  e a              e ea ed       e a ed, ca ed
      a d begged he A                              e a eCe                    Off ce                       ad he ec d                 ch ha he
      c           d acce         he ff c a ec d (a h                                           a e                  e e de e ed b             he
      C e ).




   92. D               g a ea                  c        e a               ,           e            e        A     e a                       g h
          he C e                     d                  ad he ec d f                           he S              e eC             , he C e
          e            ded e a             e            h       a             e       g he             e          .F     e a           e:
                  bab                      he           c ,               a e                 he             ca e e ha e , I d
                        he e he ec d ,                          a be ca               he S             e eC              ,        ea e e
              e        he       ed gh                         hc              d-19 . O a ea                             cca            , he
      Ce           a        h        g             he h         e.
   93. The ,                J        21, he C e                 Off ce ca                 a            f         ed a    a        e    ha he
      a           ea ha bee d                            ed f        fa           e           e fec . The e a                          de     f
      d                 a            ed,               a ca     a , ​we dismissed the appeal.
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   94.Re         ec f       ,      h a h            ab e a f            ac              a da ed                 de
      e     a           ec              de he a               e a e?
   95. A                 d d he C e         e e               ee he                 e, c    ca        f     a
      A        e a          a g ac              f         ed f        da , A g          26, 2020: he
      A        e a eD                           g a        acce             he ff c a ec d, de                  e ha
      A        e a          a            ed b       he S      e eC                , a d ha         a c ea
                 ed b    he C e           h de e ed A             e a        a e             c ea e a ec d
      NYCSEF, a d he de a ded ha A                                    e a    ac         e a ce     f ed c            f he
       ec d f                   he S     e eC         .
   96.Th dec                      e e       e        bea ab e d e             e ace ba           g fac      , a e
      (a) he C e                 Off ce dec a       g he          e         a c     e       f     A       e a        a d
           he           e        ga      (b) he       a c              ea     e     a e          h he c ea
           e            f da ag g A             e a , a d h ch h                    d e e         ee da         gh     a
      c            f a (c) he C e                    e -a a e f h                   ch A        e a
           ffe       g, a d ha           a a        a e      h a            ea (d) a d he a de                  c.
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           97. I              f     he C e                     ea      ga         h he c ea               e        f
                   ab age. The a      ea h          d, e       ec f       , be e         a ed a d e           ed ed.




               THIRD ARGUMENT: ​There are No Words to Describe ho
               prejudicial it         as for the Court to aggressi el defend, protect
               and endorse Respondents' proud intention to undermine the
               spirit and clear directi e of the Legislator and the Court of
               Appeals, and e en the Court o n application of the FOIL.

           98.P        a          he P b c Off ce             La      A     c e 6, Sec         84​:

                          [...] The eg a e he ef e dec a e ha g e       e      he
                              b c' b    e a d ha he b c, d d a a d c ec e
                          a d e e e ed b a f ee e , h d ha e acce           he ec d f
                          g e       e    acc da ce   h he            f h a c e. [...]
                          The e e' gh              he   ce    fg e     e a
                          dec      - a ga d      e e he d c e       a d a     c ead g
                              de e    a      ba c        c e . Acce       ch f    a
                           h d        be h a ed b h    d g      h he c a f ec ec
                          c f de a . [...]

           99.F       he , The C          fA       ea ha           e ea ed      aff      ed​33​ ha he FOIL,
               inter alia, ​ : (a) a b d g            a        e ha de a d a age c                        g    d-fa h
               c          a ce; (b) ge e a         ba ed              a     e                 f acce ; (c) a
                   ec d     f a age c a e a a ab e, e ce                        he e e            ha ec d
                            he e f fa          h          e           eg        d f          de a a           ea   g
                   87(2)(a) h       gh ( ) f he FOIL; (d) f a age c                      e ea ed
               de           ae            e ga       e             a e a d/      e       e    c       e        f   he
               FOIL, he ,             be g         e e ed             h e de ce f            ch           a            a
                     e -f ed       ec a        ceed g, he c                          ed e - a he ha
               e d        e- a age c       d       ega d f         he FOIL.



33
  ​Mtr of Buffalo v. Buffalo Entr. Dev. ​578 NYS 2d 945, 1991 ​Westchester-Rockland Newspapers v.
Kimball 50 NY2d 575 (1980); The Legal Aid Soc y. v. Albany Local Dev. (Sup. Crt, Albany Cty, (1989);
Babigian v. Evans, 427 NYS 2d 688 (1980); ​S.W. Pitts Hose Company et al. v. Capital Newspapers (Sup.
Crt, Albany Cty, (1989); Q​ uirk v. Evans, 455 NYS 2d 918, 97 Ad 2d 992 (1983)​.
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   100.     The af e a d, e                     ec f      , fa ed           a ea                      e                 he C       .
      I      ead f               g           ad d ca          e     e       c            ec a age c
            -c           a ce, he C                      e              e            a           Re           de        eff
            hh d         f           a         - a be     de       g ch ce ha e de                        he FOIL              a d
            d.
   101.     F        he eg eg                  de a ed             a            f he         a       e he C                 e a de
          he FOIL, he c ea                     ecede      f        he C              fA          ea , a d he C
                a     ca                 f h        ecede , ee EXHIBIT B.



                    FOURTH ARGUMENT: ​The Fraud-Friendl Approach is
                    De astating to the Public Interest. To Protect the Public,
                    Respondents Criminal Enterprise and Abo e-the-La                                                Culture
                    Must be Redressed, Rather than Endorsed or Tolerated.


                    FIFTH ARGUMENT: ​The Appellate Court Must Not Dismiss The
                    O er helming E idence Respondents Are Engaged In A
                    Massi e Criminal Enterprise That Harms the Public.


                    SIXTH ARGUMENT: ​Respondents Public Statements Regarding
                    The Importance of Helping the Homeless Find Housing During
                    the Pandemic, Are Sadistic, Cruel, Unusual, and a Breach of
                    Social Norms


             POINT ONE: The Problem Is Per asi e Corruption

   102.     Re       ec f        , he e                ceed g , a he c e, a e a ad e a e
      A e ca J                           de ce, a d he a e f ce e                                c                 .I         he
      C          f Ne Y              a d            e de            h c                  e           ffe f
      Re            de       c               a e e            e. The C           f Ne Y                   h     d be he
      Appellant in this action, not the Respondent.
   103.     B            e f             e     he        g e de ce              he           b cd         a ,
      Re            de       , ea h de e                  e       ( De e        e        ) a d he
      c -c               a       , ha e h ac ed Ne Y                        C            aff dab e h                    g
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                             g a            c ea e a         c a        ec               a e e                  e                     a ed a d e ab ed
                       b : (a)         a ab e g eed f ff c a                             h        e         b c                       e        a    h    gh
                         e e he                  (b) d c                a            e ec                  ac ce , fea                             ga
                       b -defa              e d ce aga                  a            -H           a ca                  ca            (c) a ge e a
                             e              e ec a           a     a            ca           a             b e,             ch ha                   e        b c
                                 e     ca be e be                ed a d/             c           e ed                   a e a e, de                      e be g
                       de g a ed a aff dab e (d) de be a e                                        d ffe e ce a d/                           ac      e
                         a       c a          f        b c age c e , h a e                            a da ed                              ec he             b c
                             e e ,b          ef    e     d         .
                  104.       B             e f h e de ce,                                    e        g ha A                 e a                   he        e
                       f ced           f     he        d c ea ed b age c e                             h he e                         ce a d             a da e
                                     ec he        b c​34​. F       e a              e:
                                       .     A f         e         ed b Re                       de      HPD h                            e-b       e ,S e e
                                             We        e 35​
                                                         ​ , a d a Re                        de       HPD                   b c           ad        ed bef e
                                             C      C         c 36​
                                                                ​ , ea h de e                          e        ha e-                     fac - bee
                                                   cha a                ea       g $100                                 e     ea f                  he
                                                  b c​37​, b c          ec       g a b ea                         h                   eg       e    g he
                                             aff dab e                      a    e - ab                 ed​38​.
                                                                                                                                  39​
                                       .     The B                     D.A. J                e 2019 ad                            ​        ha b be
                                             M che La a aff dab e                                     g a                     e ​ ​ he                   -
                                             he e ce               .
                                                                                                                    40​
                                       .     The DOI C                               e           ad                 ​       ha Re                   de
                                                   e     ca        fa           h                he         e           gh            a da e.




34
   ​Demanding this of Appellent is particularly cruel, as the Respondents have proven their ability and
willingness, time and time again, to render honorable courts of law into, respectfully, vessels in service of their
cause.
35
    https: www.propublica.org podcast these people want new york landlords to stop ripping off tenants
36
     ​https:    legistar.council.nyc.gov MeetingDetail.aspx ID 458975 GUID A4F32C2C 519F 4987 9A1E CF0D66CA008B
37
   https: www.propublica.org article ny state data indicates even more landlords duck rent limits
38
   https: www.propublica.org article nyc landlords flout rent limits but still rake in lucrative tax breaks
39
   http: brooklynda.org 2019 05 21 three luna park housing corp officials indicted for conspiring to rec
eive bribes forge documents to corrupt the process by which mitchell lama apartments are acquired NY
SCEF, Appl Div. First Department, 2019 04206, Docket 49, page 10.
40
   Ibid, ibid.
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                                   .    The           e       he             g            be       ff a d e           aff dab e deed
                                            ead        a a ab e                   ACRIS​41​.
                                   .    S       (6) ece                              aff da             f c ed b e Re               de         HPD
                                            h         e-b          e 42​
                                                                     ​ , h                  e ec            e    a ed                  d c          e ,
                                        a d h                          e bef e The U                    ed S a e D               c C            f
                                         he S             he          D          c       f Ne Y           ( he Fede a C                        ), ha
                                         he Re                    de         a e e gaged                        age          c         a
                                        c       d c.
                                   .    The           dc          e         f HPD A                 a     C                      e , We de
                                        Wa e , h ee                        he HPD e ec                    e ,a d                 he
                                        De e              e              a 26-c                    dc     e       c d g cha ge                      f
                                            ac e ee               g, c               ac , b be , e                      ,          e f a d, a d
                                                                                                                       43​
                                                  e       a       de        g        e ce           f $22              ​ .
                                   .    I       he a              f e ea             a      e,          e ha                 (60) C
                                        h             ge                   ee ,          c d g              e         HPD e                 ee ,
                                            e e        d c ed               cha ge             fc             ac , b be , c                             ,
                                        a d f a d​44​.
                                   .    HPD                            e       a a d           f        2012-2017​45​ e ea                 g
                                            e                     eg a           e          aff dab e M che La a                                ec .
             105.     A a                       , he af e a d h                           d,       de e de            a dc            ec       e ,
                            e he U.S. A                   e           Off ce , he DOI, he F.B.I., he Off ce f he
                  C       C                 e , he D.A. Off ce , a d he J d c a                                              a e
                      c                      g e ed a                     ea         e         ed e         he           f Re              de
                  c           a e e               e. I        ead, he ad d ca                       e af e       a h ha f                  ed he
                  af e a d             dc       e         , e         ec f           , ha                ade c        e ee                 e
                  a    ac      e        he c                  .
41
   For example,​ ​NYSCEF, Appl Div. First Department, 2019 04206, Dockets 9, EXHIBITS B E.
42
    ​See below Par 16, Footnote 15 .
43
   https: archives.fbi.gov archives newyork press releases 2011 assistant commissioner of nyc departme
nt of housing preservation and development indicted for racketeering bribery and extortion​.
44
  For example:
https: www.manhattanda.org manhattan das office doi nypd announce arrests and criminal charges wid
espread briber
45
   Quoted in Comptroller s Audit MJ06 134A, at page 10. Only two 2 out of the forty three 43 projects audited
did not show any irregularities​.
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                    POINT TWO: Lack of O ersight - Ha en for Corruption

            106.        I 2014, he de e                             ab e a d             Ma ha a              a e            a ed          be            h
                                          46​
               $1.74                      ​ .B a a                   d        a        , he C               he b gge                e                e
                                                          47​
                        he f e b                    gh ​ -              ha         a     e 362.1                           a e fee
                   a e​48​. A             b a             a                        f he C               b c            e           de g a ed f
               aff dab e h                           g,                 g a             a aged b Re                   de       HPD a d
                    a       aff a ed e                        e ,       c d g Re                   de       B ea          gG            d​49​.
               Off c a              , he                      e          he             /      d e e          c       e Ne Y              e      f d
               h                g                    .
            107.        The          b c                 e           a a e ha he e a e a                          he e be           ee 168-216
               aff dab e                    g a                     h         he         dc             fC        H            g Age c e ,               ch
               a HPD, HDC, a d NYCHA. A a                                               a           c de : he 421-a Ta
               I ce                 e, 421-b Ta I ce                          e, 420-c Ta I ce                    e, 50/30/20
               M ed-I c                    e, H                   g+, M che La a, I c                              a       H            g, J-51 (A),
               Re           C              ed, Re                 S ab         ed, Th d Pa              T a       fe , Ne ghb h                  d
               P a ,M                  a d Ma ch I c                          e, M ed M dd e I c                      e, M         fa
               D                       a d F a ce, M                              a H              gA       ca         , a d he Nehe                  ah
               P g a                 . De            e        a          f he e             g a         e a           g        a b ea            a d
                        b cc                    c             bd                   hb              fd        a , he            e     gh           e
                   he e             g a              , a be , a ad                      e.
            108.        B             e f he C                       e                   a e ,                    e a       ef          he
               Re               de         a d he aff a ed a                                 e -    ch a          a e          g age          ,a d
               de e             e     g a ed e                            f            b ch             g         ec -         ac           h
46
  ​ hat figure which excludes the combined value of Brooklyn, Queens, Staten Island, Bronx, as well
   T
as, the aggregate value of all parks, roads, and highways is significantly larger than the combined
market capitalization of the world s three largest corporations in 2014. See:
https: www.journals.elsevier.com regional science and urban economics
https:    www.bloomberg.com news articles 2018 04 24 manhattan s land value is an incredibl
e 1 74 trillion​.
47
   https: therealdeal.com issues articles who owns all of new york
48
   ​That is more than one and a half times what the top private developers such as Vorando,
Blackstone, Tishman Speyer, Extell, SL Green Realty own combined.
4
    ​For reasons unknown, the precise breakdown is concealed from the public.
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              eg         , a           a e c , a d he ec g                                         ha         b c              e
          e e            be ef         he           b c.
   109.       Ne e he e ,                    e he a                      ff           ea , Re             de        , he De e                   e
      a d he c -c                               a               , ha e a d c                     ed      be a          he           b c, b
      c                   g he h            d ed                 f aff dab e                 g a              h       c a       e,
                  d-be d g ca                    , he                         f h ch- ha e e                   e be            e e                     f
      aff dab e                    e        e               e       ch he             e e a d he c -c                                  a           .
   110.       Th b each                                         ed a d fac                a ed b       he                 ef       ac          f
              e        gh e e c ed b                    h e              a da ed                   ec he              b c. C                de                 g
      c ed b e e de ce ha h                                         ca       ha e ceeded h                   d ed         fb                    f
      d           a , a d ha ha bee g                                    g        f       f e decade -                    dca c                    c e ce
          f        eg         c        de e                 e       he ac             f     e     gh a acc de a . Ra he ,
              e          a,a d              a               e h          d,               a ed b        he        a ab e g eed f
      ab           e- he- a             b c ff c a .
   111.       Ag               g            be          f           e be              f he       b c ha e ga ed f                          -ha d
                       edge f he                        e              h e e               g he C              aff dab e h                             g
                  g a     .F       he ,             a               b c ff c a                                    f            e -         c d g
      H                ab e       e be              f he be ch a e, e                           ec f         ,a a e f h                    ea              .
      Ne e he e , he ab e ce f e ed a                                                      ea      e c                e         e                  e he
      Re                de             de                        e .
   112.       T               ec he                 e e             , he c                   ha e ha          e ed acce                        C
              b c             e        a a                      e        e        ce         b be a               b c ff c a , a
      e f ce e                           e          gh age c                  ha da e cha e ge, effec                              e
          e de           g he ca                    be                   chab e.
   113.       G a ed, b a                e de a                        f he e e                   a ega               a ee             ec ed-
                   ce a            f             h e h de                         e               ec c                     , a d/              a e
      d ec              be ef           g. N            e he e , a e                       be      dca c              c e ce ca
      ab            d e e. The c ed b e e de ce f c                                                     , f a d, a d e be                      e e
                   e    he         g         a              ea           ab e             d. Re        ec f       , he e c                 e
      ca                      fe e ed, a                         ga           e       gh age c e a d he J d c a                                ab de
      b           he a        e fa e a                      ach.
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   POINT THREE: Respondents Admitted in 2015 that Due to Their
Weak O ersight, at Least $100 Million Dollars Is Stolen E er Year

   114.        I a h c                        g e e          fa     ce              b       hed be           ee 2014-2018,
            e     ga             e                 a         Ce a        P d                a d Ma ce                R chab                 ,e          ed
          he ca a                        h c ha              f c ed             he           b c, h ch g e                          he hea              f
          he ha                      f c ed             A     e a .S                               ,f       decade ,                    e
      De e           e               ha e a dac                     chea ed he                       b c, b c a                 g a b ea
      b         ef               g                     de aff dab e h                        g. De           ec           ec       g a b ea
           e $100                                   e       ea , he e a             c e de                       a ed ha 200,000
      aff dab e                                    h ch e e e                ed             be eg           e ed a           e - ab                   ed,
          e e e e                    eg        e ed          beg            h,                          e ca e , f a d e
      c         e ed bac                               a e a e,             e           e             a              f Reg a
      Ag ee e                    1.
   115.        The                       e fac          e ab        g h b each a                                 f       d      a HPD
      e ec            e              e        f ed bef e C             C            c ,          a      ec a hea               g ha              a
                     ed b P                     P b ca e                   e. I             baff        g            b e e he                e        a ce
           a             ea               gf                  a a        ed a ed e                        g h            a e        ,       ch a
      ca             g bac                    he        e $100                       .I          a        a e            ha he b each f
          he         a                         e        gh     a da e- fa ed                            a ea                   e             .

     POINT FOUR: Respondents Admitted In Ma 2020 That The
      Rejected 99.9% of the Applicants to Waterline Square

   116.        Ba ed                     Re            de     HPD                           e a                      a ed       he HPD
      ha db                  ,                      h d g a ec                  d           e - h ch                            e                ed
      a         eg a                          ag ee e - he Re                           de                   f                 ce       a
      a         ca               f             he        g a             e . Th              ,       effec , Re                 de           a e
      ca             g ha                      he f                e , he d                      a f ed 73,773 a                        ca                      f
      74,000 a                           ca             Wa e           eS       a ea                 e g b e, a d ha a                       e              f
      d         af               g 99% f he a                       ca                      , 22 a a                 e         e a ed aca .
      Th                 e                g ad                                      he           ce          f h c                  a        .
   117.        The Re                         de        ca         c       d c              de               a           e fac e a d
                  a d                ega d f            A     e a               fe, a he c                           e              gg e
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                            e he a de                      c, h e fac g                            afe               gc     d          ,     -a d- ff
               h          ee           e ,                 a               353 da              f                  f ed           e , h e he a
                      e        -        (22) a a                   e         f         h ch he               e g b e- e e acc d g
               Re              de            c            c, c         c              ca c a                     -a eg e a a
                           a f ed a                  ca        .

           POINT FIVE: Respondents Co er Up Attempts Pro e Countless
          Apartments Were Granted To Unqualified Pri ileged Parties

           118.           ​O J         e 28, 2020, A                   e a        c     f de           a           b       ed     Re            de
               C           e , M . Sch                fe d, a d M . W                      a       ,a              f       a f    e de               a
               Wa e                eS        a e, h e he                          ed           e                 - f- a e, e ded
                           a e                                     e aff dab e                     e       e , e ceeded he             a         c       e
                  e        e e           ,           e e fa                a df e d                f Re              de        .O J        e 29, each a d
               e e                 e f he e e                  e e           ed        c            a        g       f     a       he c ed               e        .

                  POINT SIX: The Luna Park Affordable Housing Scandal​50

           119.       I Ma 2019, he B                                       D.A. a e ed a d                          d c ed h ee             e
               c          ec                 h a b be               ca       a he L                a Pa          Aff dab e H                g
               M che -La a C                              e . The acc                 ed a eged              c             ed f a d, f ge                a d had
                  a e $875,000                       b be           ha e ab ed                         a f ed a            e               he a              g    .
               A he ff c a                       e    c     fe e ce, he B                                  D.A.,         a ed ha he D.A.                     ec
                  he ca                 be he                  .I                , he C                          e       f DOI    a ed:

                                   P ec g aff dab e h        g Ne Y      C           ab     b d g
                                   e      b a       e e     g fa acce     he e e ha e. The e
                               defe da       de c   ha eff     b   a    a g he    e    acce
                               aff dab e h      ga a     e       e    f h d ed f h       a d f
                               d a       b be , acc d g       he d c e . The c
                                    e ab   e DOI f     dd      g h    e ga    a e be g add e ed
                                  h he C      De a    e     fH     gP e e a    a d De e      e ,
                                 h ch ha a ead beg         e g he g       e gh f C -      e   ed
                               M che -La a de e         e . DOI ha      he B       D    c
                               A      e Off ce f   he     a e h a dc           e     h         a
                                  e ga      .




50
  http: brooklynda.org 2019 05 21 three luna park housing corp officials indicted for conspiring to rec
eive bribes forge documents to corrupt the process by which mitchell lama apartments are acquired
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   POINT SEVEN: ACRIS Contains Thousands of Fraudulent Deeds
            Pertaining to Affordable Properties

   120.      ​In many cases, it is ​Respondent HPD (​alongside ​City Hall and the NYC Law
      Departmen​t who facilitated the transfers. Some of the deeds even include a
      sworn proclamation that a public hearing was held, pursuant to which a
      public auction was held, and that the property was awarded to the ​highest
      bidder at this auction. ​The breach of administrative integrity is two fold:
      first​, the ​highest bid recorded rationally demonstrates no such bid was ever
      held​, as it is implausible the highest bid for a property worth between
          500,000- 6,200,000​ was in the​ 1- 2500 ​range. ​Second​, equally concerning
      is the reference to public hearings and public auctions, which are nowhere to
      be found on official City databases.
   121.     When an affordable property is awarded to anyone let alone, a privileged
      party it is imperative that the hearings precipitating the transfer, must be
      held in the open. ​Not​ ​behind closed doors.​ Records of these transfers must be
      readily accessible. The unconscionable terms, coupled by the suspicious
      similarity in some of the signatures, coupled by the lack of transparency cast
      a heavy shadow on the legitimacy of these transfers.
   122.     For example, on October 03, 2008, Respondent HPD authorized,
      notarized, and signed off on the sale of an affordable, city owned property to
      Lash Kocovic for the highest bid of 1000 a fraction of its market value. Even
      more disturbing, the deed references a public hearing and a public auction
      that are missing from the official City Council database.
   123.     Similarly, on July 06, 2011, HPD authorized, notarized, and signed off on
      the sale of an affordable, city owned property to Decatur Properties LLC, for
      the highest bid of 2254      a fraction of its market value. The hearings
      referenced in this deed are also missing.
   124.     Similarly, on July 07, 2011, HPD authorized, notarized, and signed off on
      the sale of an affordable, city owned property to Mohinder Bahanot, as the
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      highest bid of 1040      a fraction of its market value. The referenced hearings
      in this deed are also missing.
   125.     Similarly, on January 15, 1995, HPD authorized, notarized, and signed off
      on granting the same Mohinder Bahanot a city owned, affordable property at
      Sutphin Blvd, Queens for 0 dollars.
   126.     Similarly, on July 13, 2011, HPD authorized, notarized, and signed off on
      the sale of an affordable, city owned property to the BT Family Trust for the
      highest bid of 1,300 a fraction of its market value. The referenced hearings
      in this deed are also missing.
   127.     Similarly, on August 10, 2011, HPD authorized, notarized, and signed off on
      the sale of an affordable property valued at 690,000 for the highest bid of
          250. The referenced hearings in this deed are also missing.
   128.     Similarly, between 2004 2018 HPD authorized, notarized, and signed off
      on the sale of thirteen 13 affordable properties at Chester Park, Bronx, to
      Lovely Meah and Nadir Ahmed, whereas the limit is one affordable unit per
      person. Thousands of applicants were rejected, but the aforesaid were
      awarded thirteen 13 apartments. Further, Lovely Meah is a city employee
      school helper with an annual salary of 17,000, and Nadir Ahmed is a fraud
      investigator for the Department of Homelessness DHS with an annual
      salary of 40,000, yet still they managed to acquire thirteen 13 apartments,
      which they continue to enjoy, as Appellant continues to suffer.
   129.     Similarly, as it relates to the subject property, Waterline Square, and
      adjacent properties at Riverside Blvd 40 60, Respondents awarded affordable
      apartments ineligible applicants including but not limited to: Tatayana
      Maldeno, Jason C Rivera, Jason M Rivera, Hadith Narine, Kim Bevan,
      Stephanie Perez, Luis Brito, Adriana Salazar, Rosa Mendoza, Rosura Mendez,
      Edwardo Campanella who was awarded an apartment after his confirmed
      death , Angie Acosta, Michael Acevedo, and Maria Martinez. The aforesaid
      illustrations are an iota of Respondent criminal enterprise.
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                   POINT EIGHT: Wh Are Respondents Indifferent to the
                       Well-Established Right for Adequate Shelter?

   130.        The gh f           ade          a e he e                     e -e ab          hed           Ne Y                S a e:
      Callahan v. Carey, No. 79-42582 (Sup. Ct. N.Y. County, Cot. 18, 1979);
      Eldredge v. Kock, 118 Misc. 2d 163 (N.Y. Sup. Ct. 1983); McCain v. Koch,
      511 N.E. 2D 62 (N.Y. 1987).
   131.        The a d ca e hea                        e ed          ​ ​A     c e XVII, Sec                     1 f he Ne Y
      S a eC                          :

                               he a d, ca e a               d          f he eed a e b c c ce
                             a d ha be                        ded b he a e a d b   ch f
                               bd         ,a                d      ch a e a d b    ch ea , a                                            he
                              eg a e a                      f        e     e de e  e .
   132.        D e         he a de c, he                    e he e a e e e e da ge       a d
           ade       a e. A       e a                  e -e ab           hed gh f                ade        a e he e                 be g
      de            ed b be g f ced                         ha       f       c      d                   h ch he e               a h gh
           e h        d fc            ac       g COVID-19.
   133.        Re    ec f        , h           h        d he H                ab e A         e a eC                  c           e
      d        ega d g he de                   a            fA        e a '                  ec ed gh f                   ade        ae
          he e ? Th              gh        b            e       a e e -e d g                          fc            a d
      c                     a    gh        ha ha e bee                   g        ed. Re         ec f           ,b       he          e he
      A        e a eC             ga e M . Ca aha h da                                   c       , he had ag ca                      d ed
               he     ee . H          a        e       begged            be hea d                e ,                a a .
   134.        A     e a        ha bee begg g f                      h da                c        f                 e ha a ea .
      The C e             ha d        ee e             h g               be         de       A        e a            f h        gh , b
          ef        g de be a e                a        g he ec d, g                         g he           b        e a, a d
      de be a e             g     g                f        a        .F          he , f          a          f        he        a c
          ab age f M . H                   e ,A             e a                  d ha e had a h                  e         Oc be 02,
      2019. C              de     g he             a            fc c              a ce , he e                   h          b
      Re             de     ,                                   be          fa h         h        he        dca c               c e ce
      c        dc               e be g                 d ffe e               a ca                       ce.
